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                 EXHIBIT 1
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                                                                                      PLAINTIFF'S
                                                                                        EXHIBIT



Al-Khafash: Releases were not based on seniority and did not include prisoners from Jerusalem
and the interior

Al-Tadamun: Occupation Military Courts extend the detention period of nine prisoners

European Network: Darar Abu Sisi suffers from a dangerous health decline and must be released
immediately.

[Photo caption] For the second time, the occupation extends the "administrative" detention for
Representative Atun for six months.

The Law for Detainees and Released Detainees,its Systems and Regulations,
as approved by the Palestinian Council of Ministers

The Law for Detainees and Released Detainees,its Systems and Regulations,
as approved by the Palestinian Council of Ministers

Notice 112: The Palestinian Center for the Defense of Detainees objects to and rejects the
appearance of Comrade Thamer Sabaineh before the Court of Appeals and calls the Committee
for Freedoms to put an end these violations... more

Notice 111: The Palestinian Center for the Defense of Detainees warns all against going around
prisoner strikes and affirms that the prisoners are continuing their battle with all confidence...
more

The Law for Prisoners and Released Prisoners

Number 19 of 2004

Having examined the Revised Foundational Law,and upon approval by the Legislative Council
in its December 22,2004 session, the President of the Palestinian National Authority has issued
the following law:

                                            Article 1

The following words and expressions shall have the specific meanings below unless otherwise
indicated:

National Authority: Palestinian National Authority

Council of Ministers: Council of Ministers of the National Authority
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Ministers [sic]: Ministry of Detainees' and Ex-Detainees' Affairs or the Ministry in charge
thereof

Prisoner: Anyone who is kept in prisons of the occupation for offenses of participating in the
struggle against the occupation

Released Prisoner: Any prisoner who has been released from prisons of the occupation

                                             Article 2

Prisoners and Released Prisoners are a struggling class and an inseparable part of the fabric of
the Arab Palestinian Society, and the provisions of this law guarantee a dignified life for them
and their families.

                                             Article 3

To achieve the objectives of this law,the National Authority will employ all possible means to
achieve the following:

1.Free the prisoners from the prisons of the occupation.

2.Provide prisoners with all the required legal assistance.

3. Provide prisoners and their families with all the financial services that they are entitled to in
   accordance with the regulations of this law and the salary scale used.

4.Afford the prisoners and their children an opportunity for education.

5.Rehabilitate released prisoners.

6. Secure employment for the released prisoners based on standards that take into account the
   years that they spent in prison and their educational levels, according to a system to be
   established by the Council of Ministers.

                                             Article 4

The National Authority may not sign or co-sign a peace agreement to resolve the Palestinian
issue that does not include the release of all prisoners.

                                             Article 5

1. Every male released prisoner who has spent a period of no less than five years, and every
   female prisoner who has spent a period of no less than three years, in the prisons of the
   occupation shall be exempt from the following:
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   Tuition fees in governmental schools and universities

   Health insurance fees

   Fees for any training course within the framework of the programs organized by the official
   departments in charge

2.The Council of Ministers shall specify the cases where the above exemptions apply according
  to a system established to that effect.

                                            Article 6

The National Authority shall give each prisoner, without discrimination, a monthly allowance
while he is in prison and shall provide him with a clothing allowance twice a year according to
the system established to that effect.

                                            Article 7

1. The Authority must give every prisoner a monthly salary specified by the system, to be
   proportionate with the cost of living.

2. Prisoners' family members shall receive a portion of the prisoners' salary based on the
  standard of legal expenditure in effect.

3.The prisoner shall appoint an agent to collect his monthly salary or what remains of it.

                                            Article 8

1.The years of imprisonment shall be calculated for each prisoner or released prisoner employee
  according to Article 107 of the Civil Service Law Number 4 of 1998 and the regulations
  issued to that effect.

2. The Authority undertakes to pay the insurance premiums and salaries for each imprisoned
   employee for the years of [his] imprisonment.

                                            Article 9

The Ministry must cooperate with the agencies in charge to prepare a certified database of
prisoners and released prisoners, the conditions and the reasons for their detainment, and the
crimes to which they were subjected by the occupation.
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                                             Article 10

The National Authority may file lawsuits of crimes committed by the occupiers against the
prisoners, and to demand any compensation for the harm they suffered as a result of such crimes.
Each prisoner and released prisoner may file such lawsuit.

                                             Article 11

The Council of Ministers shall establish the necessary systems to implement the provisions of
this law.

                                             Article 12

Every provision that is in contradiction to the provisions of this law shall be null and void.

                                             Article 13

All relevant agencies, each in its own capacity, shall start implementing and enforcing the
provisions of this law within thirty days of its publication in the gazette.

                    Issued in the city of Gaza on December 27,2004 A.D.,
                         corresponding to Dhul Qaada 15,1425 A.H,
                                          Ruhi Fatouh,
                        President of the Palestinian National Authority
          Regulations Associated with the Law [of Prisoners and Released Prisoners]
                   Decision of the Council of Ministers number( )of 2006
    Regarding the Regulations Associated with the Law of Prisoners and Released Prisoners

After examination of the Law of Prisoners and Released Prisoners,number 19 of 2004,approved
by the Legislative Council in its December 22, 2004 session, and by the President of the
Palestinian National Authority on December 27, 2004, and its publication in the Palestinian
Gazette, issue number 54 of April 23, 2005,in light of what the Minister of Detainees and Ex-
Detainees Affairs has shown in meeting number 40 of the Council of Ministers, held on
November 23, 2005, and based on what the Council of Ministers has approved in the same
meeting,the following was decided:

                                             Article 1

The following regulations of the law of Prisoners and Released Prisoners are issued:

1.System to secure employment for released detainees.

2.System of monthly salary payment to the detainees and their families.
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3. System to secure a living allowance and yearly clothing allowance for prisoners inside Israeli
   prisons and detention centers.

4. System of Exemption from School and college tuition fees, health insurance fees, and training
   courses fees.

                                            Article 2

For the purposes of applying the provisions of this law, the following words and expressions
shall have the specific meanings below unless the context indicates otherwise.

Ministry: The Ministry of Detainees' and Ex-Detainees' Affairs

Minister: The Minister of Detainees' and Ex-Detainees' Affairs

Prisoner: Anyone who is kept in prisons of the occupation for participating in the struggle
against the occupation

Released Prisoner: Any prisoner who has been released from the prisons of the occupation

General Directorate of Administrative and Financial Affairs: The General Directorate of
Administrative and Financial Affairs in the Ministry

Relevant Employee: The Relevant Employee in the Administrative and Financial Affairs Section

Evidentiary Documents: All necessary documentation, diplomas, incarceration documents,
certificates of marital status and certificates of expertise,etc.

Agent: The individual who is authorized to receive the salary on behalf of the prisoner

Bank: A bank that is present and authorized by the Palestinian National Authority to operate in
the Palestinian territories

Oversight and Examination Section: Oversight and Examination Section in the Ministry

General Administration for the Released Prisoners Rehabilitation Program: The General
Administration for the Released Prisoners Rehabilitation Program in the Ministry of Detainees
Affairs

Education Section: Education Section in the General Administration for the Released Prisoners
Rehabilitation Program in the Ministry.

Training Section: Training Section in the General Administration for the Released Prisoners
Rehabilitation Program in the Ministry
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Health Insurance Section: Health Insurance Section in the General Administration for the
Released Prisoners Rehabilitation Program in the Ministry

Section for Communications with the Prisons: A section of the General Directorate of Detainees
and Ex-Detainees Affairs

Canteen Items: Items purchased with the monthly living allowance that the prisoner receives

I. System to secure employment for released prisoners

                                             Article 3

A. Every released prisoner has the right to guaranteed employment in one of the Authority's
   ministries or agencies if he meets the following conditions:

    1. Having spent a period of five years or more in prison because of his resistance to the
       occupation,without exception, whether in one period or over several periods.

   2. This period/ these periods are confirmed with official papers issued by the Red Cross or a
      certificate from the relevant ministry that proves the accuracy of his imprisonment.

   3. The prisoners who were detained long ago or were detained in Arab prisons because of
      their struggle for the cause, and who do not have official papers issued by the Red Cross,
      may get a proof of detention certified by the Minister.

   4. The released prisoner must not work in any official or local organization from which he
      receives a regular salary.

   5. He must not have any other source of income, whether from business or running a
      workshop,factory, or service office from which he derives an adequate income.

   6. He must not own lands or moveable or non-moveable properties from which he derives a
      permanent income that allows him to live honorable dignified life.

   7. By exception, the same conditions apply to female prisoners who spend a period of not
      less than two and a half years in captivity. This base salary is to be cut off when she finds
      work.

                                             Article 4

If a prisoner has spent more than three years in prison, and,during or as a result of his detention,
contracted an incurable disease which caused him to have to stop work,his prisoner file may be
examined to see if he is eligible to benefit from the base salary after the conditions mentioned in
Article 3 are met,in addition to the following:
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1. That he contracted the disease during his detention or because of it.

2. That he did not receive any compensation for having contracted this disease.

3. That he demonstrates his inability to work with a medical report issued by a governmental
   medical committee.

4. That he is not receiving benefits from any other organization because of his handicap.

                                            Article 5

A. The General Directorate for Administrative and Financial Matters, via the Relevant
   Employee, shall receive all the necessary evidentiary documents from the released prisoner,
   and verify that they are in good order.

B. The Relevant Employee shall prepare a special file for each released prisoner containing the
   Evidentiary Documents and necessary recommendations.

C. The Relevant Employee shall organize the prisoner files according to the years of detention.

D. All files that are ready and accompanied by a report shall be shown to the Minister for
   approval.

E. The General Directorate for Administrative Affairs shall send a copy of the file to the general
   employee cabinet, and another copy to the Ministry of Finance.

F. The released prisoner shall be notified of the answer from the general employee cabinet and
   the Ministry of Finance. The deficiencies in the file shall be worked on to complete the file,
   through the Ministry of Detainees and Ex-Detainees Affairs.

                                            Article 6

A. After completion of the procedures relative to the appointment of the released prisoner, the
   released prisoners shall be fill vacancies in the ministries, agencies and other governmental
   organizations, to replace other employees who no longer work there or by virtue of a new
   financial appropriation,in accordance with the general yearly fiscal budget law.

B. The employment level of the released prisoner shall be determined based on the number of
   years that he spent in prison and the educational diplomas that he received.

C. In case there are no vacancies, the released prisoner shall be assigned to the Cultural and
   Developmental Club,once it is created,and shall receive the base salary on a monthly basis.
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D. Released prisoners who spent five years or more shall receive titles as shown in the following
   chart and the corresponding salaries specified by the employee salary scale currently used by
   the Ministry of Finance for all employees of the Palestinian National Authority in accordance
   with the civil service law.

   Number of years in prison    Civilian Title                    Military Rank
   5 to 7 years                 Section head                      Lieutenant
   7 to 8 years                 Deputy Director                   Captain
   8 to 10 years                Director C                        Major
   10 to 15 years               Director B                        Lieutenant Colonel + seniority
   15 to 20 years               Director A                        Colonel + seniority
   20 to 23 years               Director General                  Brigadier General
   23 to 25 years               Assistant Undersecretary          Brigadier General
   25 years and more            Undersecretary of the Ministry    Brigadier General with seniorit3

   In case any of them works in a civilian or military position, he must possess all educational
   requirements needed for this position.

E. The following shall be done:

   Released prisoners shall be given the titles they deserve.

   Those who are able to work will be candidates for work in the civil or military organizations
   with the rank that will be given to them.

F. Prisoners who spent less than five years, and to whom section 3/7 and Article 4 of the
   executive regulations of the law of prisoners and released prisoners does not apply shall be
   entitled to unemployment benefits for a period of six months.

G. Newly released prisoners shall receive immediate financial assistance to help them build their
   futures, according to the following table:
   Less than one year,he shall receive                    $500
   From 1 to 3 years,he shall receive                   $1,000
   From 3 to 5 years,he shall receive                   $2,000
   From 5 to 8 years, he shall receive                  $3,000
   From 8 to 11 years,he shall receive                  $4,000
   From 11 to 15 years,he shall receive                 $5,000
   From 15 to 18 years,he shall receive                 $6,000
   From 18 to 21 years,he shall receive                 $7,000
   From 21 to 25 years,he shall receive                 $8,000
   More than 25 years,he shall receive                 $10,000
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H.Released prisoners who have not received a monthly salary for the period of their detention
  may collect their dues for this period as arrears from the Ministry of Detainees and Ex-
  Detainees Affairs.

                                             Article 7

The base salary shall be considered a personal right for the released prisoner throughout his life,
and under no condition at all can it be transferred to another beneficiary.

                                             Article 8

1. Payment of base salary to a released prisoner will be stopped in the following cases:

   A. If he practices or it becomes clear that he practices another profession from which he
      derives a regular income.

   B. If he is detained again by the Israeli occupation army.In this case, his status is changed to
      "victim" and the salary is paid by the Ministry of Detainees and Ex-Detainees Affairs.

   C. If he occupies a vacant position in one of the government organizations, agencies, or
      ministries, and thus becomes an employee of such agency receiving a full salary.

   D. If he dies, his heirs shall benefit from his salary as follows:

       Married Prisoner:

       1- His wife and minor children shall receive 75% of the value of the salary.

       2- His youngest minor son or his unmarried daughters shall receive 50% of the value of
          the salary.

       Single Prisoner:

       1- His parents (provided that the deceased has been their provider throughout his life) +
          minor siblings shall receive 50% of his salary.

       2- His last minor brother or his unmarried unemployed sister shall receive 50% of the
          salary.

   E. If he is asked to work for an official agency where there is a vacancy and he refuses to
      adhere to this request

II. Monthly salary payment system to prisoners and their families
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                                             Article 9

Every Palestinian or Arab prisoner in Israeli prisons or detention centers has the right to receive a
salary that is paid to him or his family if the following conditions are met:

A. If he was detained as a result of his resistance to the occupation

B. If he is not receiving a monthly salary from any other governmental or non-governmental
   institution.

                                             Article 10

The prisoners' relatives must produce the following evidentiary documents:

1. Original certificate from the Red Cross documenting his detention. This document shall be
   renewed every 3 months for the prisoners who are still in detention and once a year for the
   prisoners who have been sentenced.

2. The charge sheet issued by the Israeli military prosecutor.

3. A copy of the prisoner's personal identity card.

4. A copy of the personal identity card of the prisoner's agent.

5. A copy of the prisoner's marriage certificate, if he is married.

6. A copy of the birth certificates of the prisoner's children.

7. The account number,[which is] in the name of the agent, in a bank inside the territories of
   the National Authority.

8. The sentence,if the Israeli courts have sentenced him.

                                             Article 11

All evidentiary documents shall be submitted to the Relevant Employee at the branch of the
Ministry of Detainees Affairs in the prisoner's place of residence. If he is not a resident of the
areas that fall under the supervision of the Palestinian National Authority,the documents shall be
submitted to the branch nearest to his place of residence.
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                                             Article 12

If the prisoner is married,his wife is his legal agent. If he is not married, one of his parents is his
agent. The prisoner may authorize another person to collect his salary by means of a power of
attorney issued by the Red Cross and signed by him.

                                             Article 13

The General Directorate for Detainees Affairs shall prepare a special file containing all the
evidentiary documents for the prisoner, its observations on the file and the specified the salary
that he shall receive based on his status. The complete file shall be submitted to the Department
of Oversight and Examination to confirm the accuracy of the documents and that the salary
corresponds with the information in the file.

                                             Article 14

The financial approval of the prisoner's file shall be effective when it is confirmed that he is not
receiving a salary from any governmental or private organization, once all documents are
completed and there is a charge sheet in the file. If there is no charge sheet, it will be approved if
he was subjected to an administrative detention.

                                             Article 15

The salary shall be paid effective the date of approval of the file and not the date of detention.
For those who are approved, the period between the date of detention and the date of approval,
for those who are approved,hall be paid in the form of arrears after approval.

                                             Article 16

If the prisoner remains in prison and has more than one wife, each of them shall receive the full
salary of the prisoner for fifteen years. After that, the prisoner's file shall be studied and a
decision shall be made regarding the salary, taking into account the ages of the prisoner's
children and dividing up the salary increase resulting from the increase in the years of detention,
to be shared equally between the two wives.

                                             Article 17

Prisoners from Jerusalem shall receive a special allowance to support their resistance, and in
view of their higher cost of living.
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                                             Article 18

The salary shall be paid for all children until they are 18 years old and for unemployed
unmarried daughters.

                                             Article 19

Payment of the salary shall be stopped in the following situations:

1.If the prisoner is released from prison.

2.If the prisoner dies in prison,his salary shall be changed to a deceased's as follows:

   Married Prisoner:

1.His wife and minor children shall receive 75% of his salary.

2.His last minor son or unmarried daughters shall receive 50% of his salary.

   Single Prisoner:

   His parents (provided that the deceased was their only provider throughout his life) and his
   minor siblings shall receive 50% of his salary.

   His last minor brother and his unmarried unemployed sister shall receive 50% of his salary.

                                             Article 20

The prisoner's salary of shall be paid based on the years he spent in prison, according to the
following schedule:
                                                            Allowance for
                                            Allowance for children up to      Allowance for
    Number of years          Base salary       the wife      18 years old       Jerusalem
       in prison             in shekels       in shekels      in shekels        in shekels
From the beginning of                                             50 for each
incarceration to 5 years     1000                     300        son/daughter              300
                                                                  50 for each
5 to 10 years                1300                     300        son/daughter              300
                                                                  50 for each
10 to 15 years               2000                     300        son/daughter              300
                                                                  50 for each
15 to 17 years               2500                    300         son/daughter              300
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                                                               Allowance for
                                              Allowance for    children up to    Allowance for
    Number of years           Base salary        the wife       18 years old       Jerusalem
       in prison              in shekels        in shekels       in shekels        in shekels
                                                                50 for each
17 to 20 years               3000                    300       son/daughter            300
                                                                50 for each
20 to 25 years               3500                    300       son/daughter            300
                                                                50 for each
More than 25 years           4000                    300       son/daughter            300

                                            Article 21

The prisoners' salaries shall begin with the minimum wage in the territory of the Palestinian
National Authority. The base salary shall be linked to the cost of living table.

III: System of Exemption from School and college tuition fees, health insurance fees, and
training courses fees, for released prisoners.

                                            Article 22

A. Every prisoner has the right to an exemption from school and university tuition fees and fees
   for training courses within the context of the program that specialized official agencies
   organize,if he meets the following conditions:

   1. That he spent a period of no less than five years in prison, or three years in the case of a
      female prisoner, for resisting the occupation, whether in one period or over separate
      periods,substantiated by official Red Cross documents.

   2. Prisoners who are not able to produce official the Red Cross documents because he was
      detained a long time ago may produce a proof of detention paper certified by the
      Minister.

B. The services that the Program for Released Prisoners Rehabilitation Program offers shall
   continue to be provided to released prisoners, regardless of the length of time that they spend
   in prison,in accordance with the conditions agreed upon between the program and the donor
   nations, as well as the program's policy.

                                            Article 23

A. A released prisoner who benefits from the education service must present the following
   documents:
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   1. Detention verification certificate (Red Cross)

   2. Last educational degree that he received.

   3. Certificate of enrollment in a university (for those who want to benefit from university
      education)

   4. A copy of the prisoner's identification card.

B. In order for the released prisoner to benefit from the Health Insurance Service, he must
   present the following documents:

   1. Detention verification certificate (Red Cross)

   2. Two personal photographs and a photo of co-beneficiaries from the insurance coverage.

   3. A copy of the prisoner's identification card.

C. In order for the released prisoner to benefit from the training service in training courses
   organized by specialized agencies,he must present the following documents.

   1. Detention verification certificate(Red Cross)

   2. Last educational degree that he received.

   3. A copy of his identification card.

                                           Article 24

1. The General Administration for the Released Prisoners Rehabilitation Program shall receive
   all necessary evidentiary documents from the released prisoners, through its specialized
   employees,verify their accuracy and that they satisfy the requirements.

2. The specialized employee shall prepare a special file for each released prisoner containing
   the necessary evidentiary documents recommendations.

3. All reviews concerning requests to benefit from the exemption shall be done by the
   specialized employee.

4. A prisoner who wishes to benefit from the exemption from fees for the training program
   must sign a promise not to quit the program.
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                                             Article 25

The General Administration for the Released Prisoners Rehabilitation Program is the only
specialized agency that corresponds with the agencies from which the prisoner wishes to benefit,
and it is the only agency authorized to receive responses.

                                             Article 26

1. Benefitting from the exemption from school and university fees and being from the training
   courses is a personal right of the released prisoner and it may not be relinquished to another.

2. Fees for health insurance will be deducted monthly from the monthly base salary of the
   released prisoner who receives a base salary.

                                             Article 27

1. Prisoners whose income exceeds 3000 Shekels shall not be exempt from university tuition
   fees except if they have more than one child.

2. Prisoners who have more than one child and their income exceeds 5000 Shekels shall not be
   exempt from university tuition fees.

                                            Article 28

1. To continue to benefit from the exemption from university tuition fees,the released prisoners
   must obtain a cumulative grade average of more than 60%.

2. To continue to benefit from the exemption from training fees, prisoners must not quit the
   training.

                                            Article 29

The exemption for university tuition fees is offered once.

                                            Article 30

Exceptionally, male prisoners who spent a period of less than 5 years, and female prisoners who
spent less than three years,in prison may benefit from the health insurance service for a period of
one year.

                                            Article 31

Services will no longer be offered to the prisoner in the following situations:
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1. If he continues no to take part in the training program.

2. If he does not obtain, for two consecutive semesters, a cumulative grade average of 60% or
   higher, for those who benefit exemption from university tuition fees.

3. If the prisoner dies, his right to benefit does not pass on to his heirs.

4. Exceptionally, if the prisoner dies, his family continues to benefit from the exemption from
   health insurance fees.

IV: System of monthly payments to prisoners inside the prison and a clothing allowance twice a
year.

                                             Article 32

Every prisoner inside the prison who was detained because of his resistance to the occupation,
and who imprisoned with the general population or in solitary confinement as a punishment
measure by the administration of the detention center, is entitled to monthly payments and a
clothing allowance twice a year,regardless of his party or organizational affiliation.

                                             Article 33

Every prisoner receives a monthly living allowance within the prison (the canteen) provided by
the Ministry and agreed upon with the Ministry of Finance.

                                             Article 34

The General Directorate of Detainees and Ex-Detainees Affairs' Department of Communications
with the Prisons is the only agency authorized to distribute the monthly living allowances to the
prisoners, according to the following procedures:

1. The Department shall be informed of the correct number of prisoners in each prison, based
   on its communication with each prison individually.

2. The Department shall prepare special lists with the prisoners' names and their bank account
   numbers within the prison.

3. The Department shall prepare the required payment authorizations according to the number
   of prisoners and based on the lists that they have,and the Minister shall sign them in order to
   facilitate the payment process.

4. The Department shall have the discretionary power to send the expenses to the [account]
   number of each prisoner individually, or to divide the amounts into [smaller] fractions as
   needed.
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5. The Department shall keep a copy of each payment authorization sent.

                                              Article 35

In the case of widespread transfers in the prisons, the Department of Communications with the
Prisons, after conducting the necessary communications, may specify a payment procedure as
needed in each individual prison. The same applies in the case of inspection and confiscation of
prisoners' possessions in the prison.

                                              Article 36

In the case of general disorders in the prison, aggression by the prison administration against the
prisoners, and confiscation of their possessions, the Minister may, at the earliest opportunity he
has,submit an urgent request to provide emergency help to the prisoners, to be distributed based
on the need of each prisoner.

                                              Article 37

A 400 Shekel clothing allowance shall be paid to prisoners twice a year,to the prisoners' agents,
in addition to their salary; once in the middle of the year, and once again at the end of the year,
through the Ministry of Finance.

                                              Article 38

A prisoner shall lose his right to a monthly living allowance and a clothing allowance in the
following situations:

1. If the prisoner is released from detention.

2. If the prisoner dies while in detention.

3. If the prisoner cuts off relationships with the group of prisoners and prefers to live in solitary
   [confinement] for reasons connected with his national group.

                                              Article 39

After agreement with both parties, the Ministry of Finances and the Ministry of Detainees and
Ex-Detainees Affairs,the Council of Ministers issues its decision in this regard.

                                              Article 40

All relevant agencies, each as it applies to them,must implement this decision effective the date
it is issued. Such decision shall also be published in the official gazette.
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Ahmed Qurei

Chairman of the Council of Ministers

Source: Website of the International Campaign of the Ministry of Detainees and Ex-Detainees
Affairs
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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


MARK I. SOKOLOW,et at,

                             Plaintiffs,
                                                   No.04 Civ.00397(GBD)(RLE)
       VS.


THE PALESTINE LIBERATION
ORGANIZATION,et at,

                             Defendants.



                            DECLARATION OF CLARK HAYES

      Clark Hayes hereby certifies as follows:

1.    The attached translation from Arabic to English is an accurate representation of the

      document received by Rina Ne'eman Hebrew Language Services, to the best of my

      knowledge and belief. The document is designated as "Palestinian Law,The Prisoners

      Law of Detainees and Ex-Detainees(Nov.19,2004)."

2.    I am a professional translator with advanced ACTFL Certification in Arabic. I am fluent

      in Arabic and English,and I am qualified to translate accurately from Arabic to English.

3.    To the best of my knowledge and belief, the accompanying text is a true, full and

      accurate translation of the Arabic-language document designated as "Palestinian Law,

      The Prisoners Law of Detainees and Ex-Detainees(Nov.19,2004)."


Dated: February   gr,2014
                                                          Clark Ha
      Case 1:04-cv-00397-GBD-RLE               Document 1017-1        Filed 11/12/20      Page 21 of 32

p.




     ss.: New Jersey

            On the4Pg day of February,2014 before me,the undersigned,personally appeared Clark
     Hayes, personally  known to me or proved to me on the basis of satisfactory evidence to be the
     individual whose name is signed to this Declaration and acknowledged to me that he executed
     the same in his capacity,and that by his signature on this Declaration,the individual executed the
     Declaration.


     Szw to me this
       ay of February,2014




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 Case 1:04-cv-00397-GBD-RLE               Document 1017-1      Filed 11/12/20    Page 22 of 32




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


MARK I. SOKOLOW,et aL,

                            Plaintiffs,
                                                     No.04 Civ.00397(GBD)(RLE)
      VS.


THE PALESTINE LIBERATION
ORGANIZATION,et at,

                            Defendants.



                       DECLARATION OF ADNANE ETTAYEBI

      Adnane Ettayebi hereby certifies as follows:

1.    The attached translation from Arabic to English is an accurate representation of the

      document received by Rina Ne'eman Hebrew Language Services, to the best of my

      knowledge and belief. The document is designated as "Palestinian Government Decision

      Regarding Payments to Prisoners(2006)."

2.   I am a professional translator with a B.A. in Romance Language Literature from the

      University of Central Florida. I am fluent in Arabic and English, and I am qualified to

     translate accurately from Arabic to English.

3.   To the best of my knowledge and belief, the accompanying text is a true, full and

     accurate translation of the Arabic-language document designated as "Palestinian

      Government Decision Regarding Payments to Prisoners (2006)."


Dated: February2e,2014


                                                                 .------._--
                                                         Adnane Ettayebi
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     Case 1:04-cv-00397-GBD-RLE             Document 1017-1       Filed 11/12/20      Page 23 of 32




   ss.: New Jersey

           On the Zcb day of February,2014 before me,the undersigned,personally appeared
   Adnane Ettayebi, personally known to me or proved to me on the basis of satisfactory evidence
   to be the individual whose name is signed to this Declaration and acknowledged to me that he
   executed the same in his capacity,and that by his signature on this Declaration,the individual
   executed the Declaration.


   Sworn to me this
  -Z(?)day of February,2014




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